                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

JOHN RUFFINO and MARTHA RUFFINO,                  )
Husband and Wife,                                 )
                                                  )
               Plaintiffs,                        )
                                                  )
v.                                                )      Civil Action No.: 3:17-cv-00725
                                                  )
DR. CLARK ARCHER and HCA                          )      Jury Demand
HEALTH SERVICES OF TENNESSEE, INC.                )      Judge Crenshaw
d/b/a STONECREST MEDICAL CENTER,                  )      Magistrate Judge Newbern
                                                  )
               Defendants.                        )

                    JOINT REPORT ON CASE RESOLUTION PLAN

         The parties have discussed case resolution and determined that additional

discovery is needed before substantive discussions can take place regarding case

resolution. Depositions are scheduled to occur in the next three weeks, which will assist

the parties in identifying additional discovery needed prior to expert disclosures. The

parties will be in a better position on April 16, 2018 to evaluate case resolution.




     Case 3:17-cv-00725      Document 34    Filed 10/17/17    Page 1 of 3 PageID #: 306
GIDEON, COOPER & ESSARY, PLC

/s/ J. Blake Carter________
C.J. Gideon, Jr., #6034
J. Blake Carter, #30098
315 Deaderick Street, Suite 1100
Nashville, TN 37238
(615) 254-0400 (phone)
(615) 254-0459 (fax)
cj@gideoncooper.com
blake@gideoncooper.com

Counsel for HCA Health Services of Tennessee, Inc.
d/b/a StoneCrest Medical Center


HALL BOOTH SMITH, P.C

/s/ Bryant Witt___________
James E. Looper, #025200
Bryant Witt, #018295
Fifth Third Center
424 Church Street, Suite 2950
Nashville, TN 37219

Counsel for Clark Archer, M.D.


CUMMINGS MANOOKIAN, PLC

/s/ Brian Cummings_______
Brian Cummings, #19354
Brian Manookian, #26455
Afsoon Hagh, #028393
Cummings Manookian, PLC
45 Music Square West
Nashville, TN 37203
bcummings@cummingsmanookian.com
bmanookian@cummingsmanookian.com

Counsel for Plaintiffs




                                         2

  Case 3:17-cv-00725     Document 34   Filed 10/17/17   Page 2 of 3 PageID #: 307
                                                   Respectfully submitted,

                                                   GIDEON, COOPER & ESSARY, PLC

                                                   /s/ J. Blake Carter
                                                   C.J. Gideon, Jr., # 6034
                                                   J. Blake Carter, # 30098
                                                   315 Deaderick Street, Suite 1100
                                                   Nashville, TN 37238
                                                   (615) 254-0400
                                                   cj@gideoncooper.com
                                                   blake@gideoncooper.com

                                                   Counsel for HCA Health Services of
                                                   Tennessee, Inc. d/b/a StoneCrest
                                                   Medical Center




                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been furnished, by
electronic means via the Court’s electronic filing system, this 17th day of October, 2017, to
the following:

Brian Cummings                                   James E. Looper
Brian Manookian                                  Bryant Witt
Afsoon Hagh                                      Nate Gorman
Cummings Manookian, PLC                          Hall Booth Smith, P.C.
45 Music Square West                             Fifth Third Center
Nashville, TN 37203                              424 Church Street, Suite 2950
                                                 Nashville, TN 37219
Counsel for Plaintiff
                                                 Counsel for Clark Archer, M.D.




                                                   /s/ J. Blake Carter




                                             3

  Case 3:17-cv-00725      Document 34       Filed 10/17/17     Page 3 of 3 PageID #: 308
